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                                                                      2010 Feb-16 PM 02:13
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BOBBIE HARRIS, etc.,             }
                                 }
     Plaintiff,                  }
                                 }        CIVIL ACTION NO.
v.                               }        07-AR-1930-S
                                 }
MEXICAN SPECIALITY FOODS,        }
INC., d/b/a LA PAZ               }
RESTAURANTE & CANTINA,           }
                                 }
     Defendant.                  }


                                 ORDER

     Pursuant to the joint notice of settlement filed by the

parties, the above-entitled action by Bobbie Harris is DISMISSED

WITH PREJUDICE, but WITHOUT PREJUDICE to any claims that might be

independently brought by members of the putative class.

     The parties shall bear their own respective costs.

     DONE this 16th day of February, 2010.


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                                         WILLIAM M. ACKER, JR.
                                         UNITED STATES DISTRICT JUDGE
